           Case 2:16-cr-20439-MFL-DRG ECF No. 8 filed 07/13/16                              PageID.28   Page 1 of 4
AO 199 (EDMI 03/12) Order Setting Conditions of Release                                                     Page   1   of 4



                               UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Eastern District of Michigan


                   United States of America                         )
                                                                    )
                                 v.                                 )
                                                                    )          Case No. 16-20439
                        Cynthia Flowers                             )
                                                                    )
                                                                    )


                                 ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42
           U.S.C. § 14135a.

       (3) The defendant must advise the court or the pretrial services office or supervising officer in writing
           before making any change of residence or telephone number.

       (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve
           a sentence that the court may impose.

              The defendant must appear at (if blank, to be notified) :


              Theodore Levin U.S. Courthouse, Room 114, 231 West Lafayette Boulevard, Detroit, MI 48226
                                                                   Place
              on
                                                               Date and Time

              If blank, defendant will be notified of next appearance.

       (5) The defendant must sign an Appearance Bond, if ordered.
           Case 2:16-cr-20439-MFL-DRG ECF No. 8 filed 07/13/16                         PageID.29      Page 2 of 4
AO 199 (EDMI 03/12) Order Setting Conditions of Release                                                    Page   2   of 4



                                           ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

v      (6) The defendant is placed in the custody of
           (See separate Agreement to Assume Custody of the Defendant).

✔
v      (7) The defendant must:
              ✔
              v     (a) report, as directed, to:
                        ✔ Pretrial Services.
                        v
                        v Probation Department.

               v (b) continue or actively seek employment.

               v (c) continue or start an education program.

               v (d) agree not to apply for or enter into any loan or other credit transaction without the previous
                     written permission of the pretrial services office or supervising officer.

              ✔
              v     (e) surrender any passport to: Pretrial Services by July 14, 2016 at 4 PM.

              ✔
              v     (f) not obtain a passport or other international travel documents.

              ✔
              v     (g) abide by the following restrictions on personal association, place of abode, or travel:
                           v     Travel restricted to the Eastern District of Michigan;
                           v     Travel restricted to the State of Michigan;
                           ✔
                           v     Travel restricted to: continental United States
                                 unless I have the previous consent of the pretrial services office, supervising officer or
                                 the court.

               v (h) avoid all contact, directly or indirectly, with any person who is or may become a victim or
                     witness in the investigation or prosecution, including but not limited to:
                     v List to be provided by U.S. Attorney;
                     v Other persons:

               v (i) get medical or psychiatric treatment.

               v (j) return to custody each (week) day at         o’clock after being released each (week) day
                     at         o’clock for employment, schooling, or the following purpose(s):


               v (k) maintain residence at a halfway house or community corrections center, as the pretrial
                     services office or supervising officer considers necessary.

               v (l) not possess a firearm, destructive device, or other dangerous weapons.


               v (m) not use alcohol:
                     v at all.
                     v excessively.
           Case 2:16-cr-20439-MFL-DRG ECF No. 8 filed 07/13/16                         PageID.30      Page 3 of 4
AO 199 (EDMI 03/12) Order Setting Conditions of Release                                                     Page   3   of 4



               v (n) not use or unlawfully possess a narcotic drug or other controlled substances defined in
                     21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.
               v (o) submit to any testing required by the pretrial services office or supervising officer to
                     determine whether the defendant is using a prohibited substance. Testing may be used with
                     random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol
                     testing system, and/or any form of prohibited substance screening or testing. The defendant
                     must not obstruct or attempt to obstruct or tamper with the efficiency and accuracy of any
                     prohibited substance screening or testing.
               v (p) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
                     directed by the pretrial services office or supervising officer.
               v (q) participate in one of the following location restriction programs and comply with
                     requirements as directed:
                           v     (i) Curfew. You are restricted to your residence every day:
                                 G from                                      to                                        , or
                                 G as directed by the pretrial services office or supervising officer; or
                           v     (ii) Home Detention. You are restricted to your residence at all times except for
                                      employment; education; religious services; medical, substance abuse, or mental
                                      health treatment; attorney visits; court appearances; court-ordered obligations; or
                                      other activities pre-approved by the pretrial services office or supervising officer;
                                      or
                           v     (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for
                                       medical necessities and court appearances or other activities specifically approved
                                       by the court.
               v (r) submit to location monitoring as directed by the pretrial services office or supervising
                     officer and comply with all of the program requirements and instructions provided.

                           v     You must pay all or part of the cost of the programs based upon your ability to pay as
                                 the pretrial services office or supervising officer determines:
                                 v (i) Location monitoring technology as directed by the pretrial services office or
                                            supervising officer;
                                 v (ii) Radio Frequency (RF) monitoring;
                                 v (iii) Passive Global Positioning Satellite (GPS) monitoring;
                                 v (iv) Active Global Positioning Satellite (GPS) monitoring (including “hybrid”
                                            (Active/Passive) GPS);
                                 v (v) Voice Recognition monitoring.

               v (s) report as soon as possible, to the pretrial services office or supervising officer, every contact
                     with law enforcement personnel, including arrests, questioning or traffic stops.
               v (t)
           Case 2:16-cr-20439-MFL-DRG ECF No. 8 filed 07/13/16                                 PageID.31   Page 4 of 4
AO 199 (EDMI 03/12) Order Setting Conditions of Release                                                        Page 4    of 4



                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your
arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one
year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you
              will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will
              be fined not more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant
      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.



                                                                Defendant’s Signature


                                                                City and State


                                                Directions to the United States Marshal
✔
v      The defendant is ORDERED released after processing.
v      The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that
       the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
       defendant must be produced before the appropriate judge at the time and place specified.


Date: July 13, 2016                                             s/David R. Grand
                                                                Judicial Officer’s Signature

                                                                David R. Grand, U.S. Magistrate Judge
                                                                Printed name and title
